United States District Court
Western District of Missouri

ECD May 2, 2029

United States of America

Plaintiff
Case Number

6:18-CR-03042-SRB

Lucian Robinson
Defendant, Pro Se
Motion fer Appointment of Counsel

Due to the complexities of the issue(s) presented in the previously filed
Emergency Motion for Home Confinement; the fact that the prison has been in a perpetual
lock-down for five weeks which is expected to last until the fall: that the prison's
law library is completely closed down and there is virtually no access to legal
resources: and that the impending doom of COVID-19 injury or death is psychologically
taxing this defendant-I ask that this honorable court appoint counsel to further

litigate this matter for proper presentation to this court.

Verification

I have read the foregoing Motion for Appointment of Counsel and hereby verify
that the matters alleged herein are true, except to the matters alleged on information
and belief, and as to those, I believe them to be true and correct. Executed at
Forrest City, Arkansas on this 1st day of May , 2020. (

Kiar Kebipae
Defendant, Pro Se

I certify under the penalty of perjury that the foregoing Motion for Appointment
of Counsel was placed in the prison's interna] mail system, postage pre-paid, for
service upon this court via U.S. mail on thisistday of May, 2020 to:

Certificate of Service

This defendant asks that this court's clerk serve all other interested parties
by electronic notification and to provide him with a stamped and filed copy of

this metion. fo ohergare

Defendant, Pro Se

Case 6:18-cr-03042-SRB Document 213 Filed 05/12/20 Page1of1
